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 2
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 4   toddleras@gmail.com
     Attorney for Defendant
 5
     MOISES TORRES
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 8                               UNITED STATES DISTRICT COURT
 9
                                 EASTERN DISTRICT OF CALIFORNIA
10
                                                       Case No.: 2:15-CR-164 TLN
11
     UNITED STATES OF AMERICA,
12
                    Plaintiff,                         ORDER TO CONTINUE SENTENCING
13                                                     HEARING AND MODIFY PRE-SENTENCE
14   vs.                                               REPORT DEADLINES

15   MOISES TORRES,
16                                                     Court:      Hon. Troy L. Nunley
                    Defendant.
17                                                     Date:       April 19, 2018
                                                       Time:       9:30 a.m.
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22
            The parties to this action, Plaintiff United States of America by and through Assistant
23

24   U.S. Attorney Samuel Wong and Attorney Todd D. Leras on behalf of Defendant Moises Torres,

25   submit this request to continue the date presently set for Judgment and Sentencing in the above-
26
     reference matter from March 1, 2018 to April 19, 2018. The defense needs additional time to
27   ORDER CONTINUING
     SENTENCING HEARING AND
28   MODIFYING PSR SCHEDULE
              Case 2:15-cr-00164-TLN Document 112 Filed 01/09/18 Page 2 of 3


 1   conduct investigation and gather materials in support of its sentencing request as allowed under
 2
     the express terms of the Plea Agreement.
 3
            The government does not oppose the request and the assigned probation officer is
 4
     available to appear on the requested date. It is therefore requested that the Court modify its
 5

 6   previously-set pre-sentence report disclosure schedule as follows:

 7          1. Draft Pre-Sentence Report Date: February 15, 2018;
 8
            2. Informal Objections to Draft Pre-Sentence Report: March 1, 2018;
 9
            3. Final Pre-Sentence Report Date: March 15, 2018;
10
            4. Motion for Correction Date: March 29, 2018; and
11

12          5. Reply Date: April 12, 2018.

13          This request follows a guilty plea so an exclusion of time pursuant to the Speedy Trial
14
     Act is not required. Assistant U.S. Attorney Samuel Wong has reviewed this proposed order and
15
     authorized Todd D. Leras to sign it on his behalf.
16
     DATED: January 8, 2018                               McGREGOR W. SCOTT
17
                                                          United States Attorney
18

19                                                        By      /s/ Todd D. Leras for
                                                                  SAMUEL WONG
20
                                                                  Assistant United States Attorney
21

22   DATED: January 8, 2018                               By      /s/ Todd D. Leras
                                                                  TODD D. LERAS
23
                                                                  Attorney for Defendant
24                                                                MOISES TORRES

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27   ORDER CONTINUING
     SENTENCING HEARING AND
28   MODIFYING PSR SCHEDULE
              Case 2:15-cr-00164-TLN Document 112 Filed 01/09/18 Page 3 of 3


 1                                              ORDER
 2
            The Judgment and Sentencing Hearing in this matter is continued to April 19, 2018, at
 3
     9:30 a.m. The Court adopts the Pre-Sentence Report disclosure schedule proposed by the parties.
 4
            IT IS SO ORDERED.
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 6   DATED: January 9, 2018

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 8                                                     Troy L. Nunley
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                                                       United States District Judge

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27   ORDER CONTINUING
     SENTENCING HEARING AND
28   MODIFYING PSR SCHEDULE
